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 3                UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
 4
 5      UNITED STATES OF AMERICA,
 6                                                              Case No. CR02-439FDB
                                Plaintiff,
 7                                                              INITIAL ORDER RE:
                         v.                                     ALLEGATIONS OF
 8                                                              VIOLATION OF
        YOLANDA AVERY,                                          CONDITIONS OF
 9                                                              SUPERVISION
                                Defendants.
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12              THIS MATTER comes on for an initial hearing on the Petition of the United States Pretrial
                Services Office alleging that the defendant has violated the conditions of supervision.
13              The plaintiff appears through Assistant United States Attorney, Michael Dion.
14              The defendant appears personally and represented by counsel, Russell Leonard.
15              The U.S. Pretrial Services Office has filed a petition alleging violations of the terms and
16              conditions of supervision, and the defendant has been advised of the allegation(s).

17              The court finds probable cause with regard to the allegation(s) and schedules a hearing on the
                petition to be held at the time and date below set forth before Judge Franklin D. Burgess:
18                            Date of hearing: July 12, 2005
19                            Time of hearing: 9:00am
20              IT IS ORDERED that the defendant:
21              ( ) Be released on an appearance bond, subject to the terms and conditions set forth thereon.
22              (X) Be detained without prejudice on stipulation of the defendant to be delivered as ordered
23              by the court for further proceedings.
           The clerks shall direct copies of this order to counsel for the United States, to counsel for the
24 defendant, the United States Marshal and to the United States Probation Office and/or Pretrial Services
25 Office.

26                                                     June 28, 2005.

27                                                        ___s/ Karen L. Strombom
28                                                        Karen L. Strombom, U.S. Magistrate Judge


     ORDER
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